CASE 0:24-cv-04535-JMB-DTS   Doc. 10-4   Filed 01/23/25   Page 1 of 3




                                                                        4
Online Business Search                                      https://service.ct.gov/business/s/onlinebusinesssearch?businessNameE...
                         CASE 0:24-cv-04535-JMB-DTS   Doc. 10-4     Filed 01/23/25        Page 2 of 3




2 of 3                                                                                                         1/23/2025, 3:40 PM
Online Business Search                                      https://service.ct.gov/business/s/onlinebusinesssearch?businessNameE...
                         CASE 0:24-cv-04535-JMB-DTS   Doc. 10-4     Filed 01/23/25        Page 3 of 3




3 of 3                                                                                                         1/23/2025, 3:40 PM
